              Case 19-58819-sms                        Doc 3      Filed 06/05/19 Entered 06/05/19 16:35:17                             Desc Main
 Fill in this information to identify your case:                  Document      Page 1 of 7

 Debtor 1         Detric                      V.                      Lester
                  First Name                  Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name               Middle Name             Last Name                              Check if this is an amended plan, and
                                                                                                              list below the sections of the plan that
                                                                                                              have been changed. Amendments to
United States Bankruptcy Court for the Northern District of Georgia
                                                                                                              sections not listed below will be
                                                                                                              ineffective even if set out later in this
 Case number                                                                                                  amended plan.
 (if known)




Chapter 13 Plan
NOTE:                        The United States Bankruptcy Court for the Northern District of Georgia adopted this form plan for use
                             in Chapter 13 cases in the District pursuant to Federal Rule of Bankruptcy Procedure 3015.1. See
                             Order Requiring Local Form for Chapter 13 Plans and Establishing Related Procedures, General Order
                             No. 21-2017, available in the Clerk’s Office and on the Bankruptcy Court’s website, ganb.uscourts.gov.
                             As used in this plan, “Chapter 13 General Order” means General Order No. 21-2017 as it may from time
                             to time be amended or superseded.

  Part 1:               Notices

To Debtor(s):                This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                             indicate that the option is appropriate in your circumstances. Plans that do not comply with the United States Bankruptcy
                             Code, local rules and judicial rulings may not be confirmable.

                            In the following notice to creditors, you must check each box that applies.
To Creditors:               Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                            Check if applicable.
                             The       plan provides for the payment of a domestic support obligation (as defined in 11 U.S.C. § 101(14A)), set
                                  out in § 4.4.
                            You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
                            have an attorney, you may wish to consult one.
                            If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                            confirmation at least 7 days before the date set for the hearing on confirmation, unless the Bankruptcy Court orders
                            otherwise. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                            Bankruptcy Rule 3015.
                            To receive payments under this plan, you must have an allowed claim. If you file a timely proof of claim, your claim is
                            deemed allowed unless a party in interest objects. See 11 U.S.C. § 502(a).
                            The amounts listed for claims in this plan are estimates by the debtor(s). An allowed proof of claim will be
                            controlling, unless the Bankruptcy Court orders otherwise.
                            The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or
                            not the plan includes each of the following items. If an item is checked as “Not included,” if both boxes are
                            checked, or if no box is checked, the provision will be ineffective even if set out later in the plan.



                                          A limit on the amount of a secured claim, that may result in a partial
                                  § 1.1
                                          payment or no payment at all to the secured creditor, set out in § 3.2           Included              Not Included

                                          Avoidance of a judicial lien or nonpossessory, nonpurchase-money
                                  § 1.2
                                          security interest, set out in § 3.4                                              Included              Not Included


                                  § 1.3   Nonstandard provisions, set out in Part 8                                        Included              Not Included
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Debtor Detric V. Lester                                                                                 Case number

  Part 2:       Plan Payments and Length of Plan; Disbursement of Funds by Trustee to Holders of Allowed Claims

§ 2.1 Regular Payments to the trustee; applicable commitment period.

       The applicable commitment period for the debtor(s) as set forth in 11 U.S.C. § 1325(b)(4) is:

       Check one:       36 months             60 months
       Debtor(s) will make regular payments (“Regular Payments”) to the trustee as follows:

       The debtor(s) will pay $820.00 per month for the applicable commitment period. If the applicable commitment period is 36
       months, additional Regular Payments will be made to the extent necessary to make the payments to creditors specified in this plan, not
       to exceed 60 months unless the Bankruptcy Court orders otherwise. If all allowed claims treated in § 5.1 of this plan are paid in full prior
       to the expiration of the applicable commitment period, no further Regular Payments will be made.

       Check if applicable.

           The amount of the Regular Payment will change as follows (If this box is not checked, the rest of § 2.1 need not be completed or
            reproduced. Insert additional lines as needed for more changes.):

§ 2.2 Regular Payments; method of payment.

       Regular Payments to the trustee will be made from future income in the following manner:

       Check all that apply.

           Debtor(s) will make payments pursuant to a payroll deduction order. If a deduction does not occur, the debtor(s) will pay to the
            trustee the amount that should have been deducted.
           Debtor(s) will make payments directly to the trustee.
           Other (specify method of payment):

§ 2.3 Income tax refunds.

       Check one.

           Debtor(s) will retain any income tax refunds received during the pendency of the case.
           Debtor(s) will (1) supply the trustee with a copy of each income tax return filed during the pendency of the case within 30 days of
            filing the return and (2) turn over to the trustee, within 30 days of the receipt of any income tax refund during the applicable
            commitment period for tax years 2019, 2020 and 2021 , the amount by which the total of all of the income tax refunds received
            for each year exceeds $2,000 (“Tax Refunds”), unless the Bankruptcy Court orders otherwise. If debtor’s spouse is not a debtor in
            this case, “tax refunds received” means those attributable to the debtor.
           Debtor(s) will treat tax refunds (“Tax Refunds”) as follows:


§ 2.4 Additional Payments.

       Check one.

           None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

§ 2.5 [Intentionally omitted.]

§ 2.6 Disbursement of funds by trustee to holders of allowed claims.

       (a) Disbursements before confirmation of plan. The trustee will make preconfirmation adequate protection payments to holders of
       allowed claims as set forth in §§ 3.2 and 3.3.

       (b) Disbursements after confirmation of plan. Upon confirmation, after payment of the trustee's statutory fee, the trustee will disburse
       Regular Payments, Additional Payments, and Tax Refunds that are available for disbursement to make payments to holders of allowed
       claims as follows:

         (1) First disbursement after confirmation of Regular Payments. In the first disbursement after confirmation, the trustee will
         disburse all available funds from Regular Payments in the following order:

             (A) To pay any unpaid preconfirmation adequate protection payments required by 11 U.S.C. § 1326(a)(1)(C) as set forth in § 3.2, §
             3.3, and orders of the Bankruptcy Court;

             (B) To pay fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3;

             (C) To make payments pro rata based on the monthly payment amount: on secured claims as set forth in §§ 3.1, 3.2, 3.3, and 3.4;
             on domestic support obligations as set forth in § 4.4; on the arrearage claims on nonpriority unsecured claims as set forth in § 5.2;
             and on executory contracts and unexpired leases as set forth in § 6.1; and

             (D) To pay claims in the order set forth in § 2.6(b)(3).

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         (2) Second and subsequent disbursements after confirmation of Regular Payments. In the second disbursement after
         confirmation, and each month thereafter, the trustee will disburse all available funds from Regular Payments in the order below. All
         available Regular Payments will be distributed to the claims in each paragraph until such claims are paid in full.

             (A) To make concurrent monthly payments, including any amount past due under this plan: on secured claims as set forth in §§
             3.1, 3.2, 3.3, and 3.4; on fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3; on domestic support
             obligations as set forth in § 4.4; on the arrearage claims on both nonpriority unsecured claims as set forth in § 5.2 and executory
             contracts and unexpired leases as set forth in § 6.1;

             (B) To make pro rata payments on administrative expenses allowed under 11 U.S.C. § 503(b) other than the trustee's fee and the
             debtor's attorney's fees, expenses, and costs; and

             (C) To pay claims in the order set forth in § 2.6(b)(3).

         (3) Disbursement of Additional Payments and Tax Refunds. The trustee will disburse the Additional Payments and Tax Refunds in
         the following order:

             (A) To pay fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3;

             (B) To make pro rata payments on administrative expenses allowed under 11 U.S.C. § 503(b) other than the trustee's fee and the
             debtor's attorney's fees, expenses, and costs;

             (C) To make payments pro rata based on the monthly payment amount: on secured claims as set forth in §§ 3.1, 3.2, 3.3, and 3.4;
             on domestic support obligations as set forth in § 4.4; on the arrearage claims on both nonpriority unsecured claims as set forth in §
             5.2 and executory contracts and unexpired leases as set forth in § 6.1;

             (D) To pay other Allowed Secured Claims as set forth in § 3.6;

             (E) To pay allowed claims entitled to priority under 11 U.S.C. § 507, other than administrative expenses and domestic support
             obligations; and

             (F) To pay nonpriority unsecured claims not otherwise classified as set forth in § 5.1 (“Unclassified Claims”) and to pay nonpriority
             unsecured claims separately classified as set forth in § 5.3 (“Classified Claims”). The trustee will estimate the total amounts to be
             disbursed during the plan term (1) to pay Unclassified Claims and (2) to pay Classified Claims. Funds available for disbursement
             on these claims will be allocated pro rata to each class, and the funds available for disbursement for each class will be paid pro
             rata to the creditors in the class.

         (4) Unless the debtor(s) timely advise(s) the trustee otherwise in writing, the trustee may treat and disburse any payments received
         from the debtor(s) as Regular Payments.

  Part 3:       Treatment of Secured Claims

§ 3.1 Maintenance of payments and cure of default, if any.

       Check one.

           None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

           Beginning with the first payment that is due after the date of the order for relief under Chapter 13, the debtor(s) will maintain the
            current contractual installment payments on the secured claims listed below, with any changes required by the applicable contract
            and noticed in conformity with any applicable rules. These payments will be disbursed directly by the debtor(s). Any existing
            arrearage on a listed claim will be paid in full through disbursements by the trustee, with interest, if any, at the rate stated below.
            If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless the Bankruptcy Court
            orders otherwise, all payments under this paragraph as to that collateral will cease, and all secured claims based on that collateral
            will no longer be treated by the plan.
             Name of creditor                                Collateral                Estimated amount of Interest rate on           Monthly plan
                                                                                       arrearage (if any)         arrearage (if       payment on
                                                                                                                  applicable)         arrearage

             Ocwen Loan Servicing                          1820 Greenvale Road      $0.00                     0%                   $0.00

             Ocwen Loan Servicing                          200 Deep Springs Way $0.00                         0%                   $0.00

§ 3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.

           None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

            The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.
           The debtor(s) request(s) that the Bankruptcy Court determine the value of the secured claims listed below.
            For each non-governmental secured claim listed below, the debtor(s) state(s) that the value of the secured claim should be as set
            out in the column headed Amount of secured claim. For secured claims of governmental units, unless the Bankruptcy Court orders
            otherwise, the value of a secured claim listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any
            contrary amount listed below. For each creditor checked below, debtor(s) will file a motion pursuant to Bankruptcy Rule 3012 and
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            the Chapter 13 General Order to request determination of the amount of the secured claim.
            For each listed claim below, the value of the secured claim will be paid in full with interest at the rate stated below. The portion of
            any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of this plan. If
            the amount of a creditor's secured claim is listed below as having no value, the creditor's allowed claim will be treated in its entirety
            as an unsecured claim under Part 5 of this plan.
            The trustee will make monthly preconfirmation adequate protection payments that 11 U.S.C. § 1326(a)(1)(C) requires to the creditor
            in the amount set out in the column headed Monthly preconfirmation adequate protection payment.
            The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the
            property interest of the debtor(s) or the estate(s) until the earlier of:
            (a) payment of the underlying debt determined under nonbankruptcy law, or
            (b) payment of the amount of the secured claim, with interest at the rate set forth below, and discharge of the underlying debt under
            11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.
   Check     Name of creditor           Estimated     Collateral and date Value of      Amount of       Amount of     Interest Monthly pre-   Monthly post-
   only if                              amount of     of purchase         collateral    claims senior   secured       rate     confirmation   confirmation
   motion to                            total claim                                     to creditor’s   claim                  adequate       payment
   be filed                                                                             claim                                  protection
                                                                                                                               payment

            Badcock & More             $1,000.00 washer and       $500.00              $0.00           $500.00       4%       $15.00         $15.00 step
                                                  dryer (1/5/2017)                                                                            to $31.00 in
                                                                                                                                              April, 2020

            Chase Auto Finance         $21,163.0 2016 Jeep               $12,025.00    $0.00           $12,025.00 4%          $151.00        $151.00
                                        0         Cherokee                                                                                    step to
                                                  (1/5/2016)                                                                                  $727.00 in
                                                                                                                                              April, 2020

§ 3.3 Secured claims excluded from 11 U.S.C. § 506.

       Check one.

           None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

§ 3.4 Lien avoidance.

       Check one.

           None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

§ 3.5 Surrender of collateral.

       Check one.

           None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

§ 3.6 Other Allowed Secured Claims.

       A proof of claim that is filed and allowed as a secured claim, but is not treated as a secured claim in this plan, shall be paid with interest
       at the rate of 5.5 %. Payments will commence as set forth in § 2.6. Notwithstanding the foregoing, the debtor(s), and any other party
       in interest, may: object to allowance of the claim; request that the Bankruptcy Court determine the value of the secured claim if
       modification of the claim is permissible and if 11 U.S.C. § 506 is applicable; or request that the Bankruptcy Court avoid the creditor's lien
       pursuant to 11 U.S.C. § 522(f), if applicable.

       If the Bankruptcy Court determines the value of the secured claim, the portion of any allowed claim that exceeds the amount of the
       secured claim will be treated as an unsecured claim under Part 5 of this plan.

       The holder of the claim will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier of:

       (a) payment of the underlying debt determined under nonbankruptcy law, or

       (b) payment of the amount of the secured claim, with interest at the rate set forth above, and discharge of the underlying debt under 11
       U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

  Part 4:        Treatment of Fees and Priority Claims

§ 4.1 General.

       Trustee's fees and all allowed priority claims will be paid in full without postpetition interest. An allowed priority claim will be paid in full
       regardless of whether it is listed in § 4.4.

§ 4.2 Trustee's fees.

       Trustee's fees are governed by statute and may change during the course of the case.

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§ 4.3 Attorney's fees.

       (a) The unpaid fees, expenses, and costs owed to the attorney for the debtor(s) in connection with legal representation in this case are
       $ 4,810.00 . The allowance and payment of the fees, expenses and costs of the attorney for the debtor(s) are governed by General
       Order 22-2017 (“Chapter 13 Attorney's Fees Order”), as it may be amended.

       (b) Upon confirmation of the plan, the unpaid amount shall be allowed as an administrative expense under 11 U.S.C. § 503(b) to the
       extent set forth in the Chapter 13 Attorney's Fees Order.

       (c) The Bankruptcy Court may allow additional fees, expenses, and costs to the attorney for debtor(s) in excess of the amount shown in
       § 4.3(a) above upon application of the attorney in compliance with the Chapter 13 Attorney's Fees Order and after notice and a hearing.

       (d) From the first disbursement after confirmation, the attorney will receive payment under § 2.6(b)(1) up to the allowed amount set forth
       in § 4.3(a).

       (e) The unpaid balance and any additional amounts allowed under § 4.3(c) will be payable (1) at $ 592.00 per month from Regular
       Payments and (2) from Tax Refunds or Additional Payments, as set forth in § 2.6, until all allowed amounts are paid in full.

       (f) If the case is converted to Chapter 7 before confirmation of the plan, the debtor(s) direct(s) the trustee to pay to the attorney for the
       debtor(s) the amount of $ 2,810.00 , not to exceed the maximum amount that the Chapter 13 Attorney's Fees Order permits. If the
       attorney for the debtor(s) has complied with the applicable provisions of the Chapter 13 Attorney's Fees Order, the trustee will deliver,
       from the funds available, the stated amount or the maximum amount to the attorney, whichever is less.

       (g) If the case is dismissed before confirmation of the plan, fees, expenses, and costs of the attorney for the debtor(s) in the amount of
       $ 2,810.00 , not to exceed the maximum amount that the Chapter 13 Attorney's Fees Order permits, will be allowed to the extent set
       forth in the Chapter 13 Attorney's Fees Order. The attorney may file an application for fees, expenses, and costs in excess of the
       maximum amount within 14 days from entry of the order of dismissal. If the attorney for the debtor(s) has complied with the applicable
       provisions of the Chapter 13 Attorney's Fees Order, the trustee will deliver, from the funds available, the allowed amount to the attorney.

       (h) If the case is converted to Chapter 7 after confirmation of the plan, the debtor(s) direct(s) the trustee to deliver to the attorney for the
       debtor(s), from the funds available, any allowed fees, expenses, and costs that are unpaid.

       (i) If the case is dismissed after confirmation of the plan, the trustee will pay to the attorney for the debtor(s), from the funds available,
       any allowed fees, expenses, and costs that are unpaid.

§ 4.4 Priority claims other than attorney's fees.

           None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.


  Part 5:       Treatment of Nonpriority Unsecured Claims

§ 5.1 Nonpriority unsecured claims not separately classified.

       Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata, as set forth in § 2.6. Holders of these
       claims will receive:

       Check one.

           A pro rata portion of the funds remaining after disbursements have been made to all other creditors provided for in this plan.

           A pro rata portion of the larger of (1) the sum of $ 0.00     and (2) the funds remaining after disbursements have been made to all
            other creditors provided for in this plan.

           The larger of (1)  % of the allowed amount of the claim and (2) a pro rata portion of the funds remaining after disbursements
            have been made to all other creditors provided for in this plan.

           100% of the total amount of these claims

       Unless the plan provides to pay 100% of these claims, the actual amount that a holder receives will depend on (1) the amount of claims
       filed and allowed and (2) the amounts necessary to pay secured claims under Part 3 and trustee's fees, costs, and expenses of the
       attorney for the debtor(s), and other priority claims under Part 4.

§ 5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims.

       Check one.

           None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

§ 5.3 Other separately classified nonpriority unsecured claims.

       Check one.

           None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.


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  Part 6:       Executory Contracts and Unexpired Leases

§ 6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
      contracts and unexpired leases are rejected.

       Check one.

           None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

          Assumed items. Current installment payments will be disbursed directly by the debtor(s). Arrearage payments will be disbursed by
           the trustee. The final column includes only payments disbursed by the trustee rather than by the debtor(s).
            Name of creditor                           Description of leased property or executory Estimated amount of Monthly
                                                       contract                                    arrearage           postconfirmation
                                                                                                                       payment to cure
                                                                                                                       arrearage

            Progressive Leasing                        bedroom suit                                    $0.00                   $0.00


  Part 7:       Vesting of Property of the Estate

§ 7.1 Unless the Bankruptcy Court orders otherwise, property of the estate shall not vest in the debtor(s) on confirmation but will
      vest in the debtor(s) only upon: (1) discharge of the debtor(s); (2) dismissal of the case; or (3) closing of the case without a
      discharge upon the completion of payments by the debtor(s).

  Part 8:       Nonstandard Plan Provisions

§ 8.1 Check “None” or list Nonstandard Plan Provisions.

           None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

       Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included
       in this N.D. Ga. Chapter 13 Plan Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.
       The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3. (Insert additional lines if needed.)

       Notwithstanding § 7.1 herein, claims that the Debtor may have or may acquire under the Fair Debt Collection Practices Act (15 U.S.C. §
       1692 et. seq), the Fair Credit Reporting Act (15 U.S.C. § 1681 et. seq.), and or similar state statutes during the pendency of the
       bankruptcy will vest in the Debtor upon confirmation up to the maximum statutory damages of $1,000.00. Any amount of recovery in
       excess of $1000.00, the Debtor will pay the funds into the case or will file a Motion to Retain with the Bankruptcy Court.

       The debt described in § 3.1 above is a long-term debt related to debtor's mortgage as described in 11 U.S.C. § 1322(b)(5). Pursuant to
       11 U.S.C. § 1328, this debt is not subject to discharge.



       Co-signer to pay Santander Consumer USA direct for 2017 Chevrolet Trax.




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  Part 9:       Signatures

§ 9.1 Signatures of Debtor(s) and Attorney for Debtor(s).

       The debtor(s) must sign below. The attorney for the debtor(s), if any, must sign below.


   /s/Signature
          Detric V. Lester
                  of debtor 1 executed on
                                                                            Signature of debtor 2 executed on
                                            06/05/2019
                                            MM / DD / YYYY                                                         MM / DD / YYYY


       200 Deep Springs Way, Covington, GA 30016
       Address                                   City, State, ZIP code          Address                                        City, State, ZIP code



  
   /s/ Matthew T. Berry
   Signature of attorney for debtor(s)
                                                                                Date:   06/05/2019
                                                                                        MM / DD / YYYY



       Berry & Associates                                                       2751 Buford Hwy NE, Ste 600, Atlanta, GA 30324
       Firm                                                                     Address                                      City, State, Zip code


By filing this document, the debtor(s), if not represented by an attorney, or the attorney for debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 Plan are identical to those contained in the Local Form for Chapter 13 Plans that the Bankruptcy
Court for the Northern District of Georgia has prescribed, other than any nonstandard provisions included in Part 8.




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